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                                   3                                UNITED STATES DISTRICT COURT

                                   4                            NORTHERN DISTRICT OF CALIFORNIA

                                   5                                        SAN JOSE DIVISION

                                   6

                                   7     JUNHAN JEONG,                                    Case No. 21-cv-02392-BLF
                                   8                   Plaintiff,
                                                                                          ORDER DIRECTING PARTIES TO
                                   9             v.                                       SUBMIT CHAMBERS COPIES
                                  10     NEXO FINANCIAL LLC, et al.,
                                  11                   Defendants.

                                  12
Northern District of California
 United States District Court




                                  13          The parties SHALL submit chambers copies of briefs and exhibits associated with all

                                  14   future motions on which the Court will hold a hearing.

                                  15          IT IS SO ORDERED.

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                                  17   Dated: November 8, 2021

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                                                                                      BETH LABSON FREEMAN
                                  19                                                  United States District Judge
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